

People v Williams (2019 NY Slip Op 06984)





People v Williams


2019 NY Slip Op 06984


Decided on September 27, 2019


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on September 27, 2019

PRESENT: WHALEN, P.J., CENTRA, PERADOTTO, LINDLEY, AND NEMOYER, JJ. (Filed Sept. 27, 2019.) 


MOTION NO. (549/18) KA 16-00929.

[*1]THE PEOPLE OF THE STATE OF NEW YORK, RESPONDENT, 
vKEVIN WILLIAMS, ALSO KNOWN AS MAURICE WILLIAMS, DEFENDANT-APPELLANT.



MEMORANDUM AND ORDER
Motion for writ of error coram nobis denied.








